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 5
                               UNITED STATES DISTRICT COURT
 6                            EASTERN DISTRICT OF WASHINGTON
 7
       UNITED STATES OF AMERICA,                )
 8                                              )    No. CR-08-137-WFN-31
                        Plaintiff,              )
 9                                              )    ORDER DENYING DEFENDANT’S
       v.                                       )    MOTION TO MODIFY ORDER OF
10                                              )    DETENTION
       GEORGE ALBERT FLAHERTY,                  )
11                                              )
                        Defendant.              )
12                                              )

13          Based upon the Supplemental Pretrial Services Report, the

14    undersigned is unable to conclude Defendant’s residence plan is

15    sufficiently structured.       Accordingly, Defendant’s Motion (Ct. Rec.

16    750) must be DENIED.

17          IT IS SO ORDERED.

18          DATED January 9, 2009.

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20                                 S/ CYNTHIA IMBROGNO
                              UNITED STATES MAGISTRATE JUDGE
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      ORDER DENYING DEFENDANT’S MOTION TO MODIFY ORDER OF DETENTION - 1
